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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                  AT MARTINSBURG

   CHARLES DEWAYNE ALLEN,
            Petitioner,
   v.                                                             Civil Action No. 3:05CV74
                                                                  Criminal Action No. 3:00CR57-5
                                                                  (BROADWATER)
   UNITED STATES OF AMERICA,
             Respondent.


                   ORDER ADOPTING REPORT AND RECOMMENDATION

          On this day the above styled case came before the Court for consideration of the Report and

   Recommendation of Magistrate Judge James E. Seibert, dated April 24, 2006. The Petitioner filed

   objections to the Report on May 8, 2006.

          In the interests of justice and in accordance with 28 U.S.C. § 636(b)(1), the Court has

   conducted a de novo review. After reviewing the above, the Court is of the opinion that the

   Magistrate Judge’s Report and Recommendation should be and is hereby ORDERED adopted.

         The Petitioner objects to the Magistrate Judge’s construal of Petitioner’s filing of additional

   materials as a motion to supplement his action under 28 U.S.C. §2255. The Court concludes that

   the Magistrate Judge’s categorization of the additionally filed materials was proper and gave the

   Petitioner a full evaluation of the merits of his claim.

          The Petitioner then argues that the Magistrate Judge’s findings should not be adopted by the

   Court because the Petitioner was acting pro se. The Petitioner further requests an extension of time

   to file further objections with the assistance of a family friend.

          The Court finds that this action is successive under 28 U.S.C. § 2255 and Petitioner was

   denied leave to file a successive petition by the Fourth Circuit Court of Appeals on March 30, 2005.

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            Furthermore, the substantive claims raised by the Petitioner are without merit. As set forth

   in the Magistrate Judge’s Report, the petitioner entered a plea agreement with the United States that

   contained a stipulated drug quantity to be used for relevant conduct purposes. The record does not

   indicate any violation of the Petitioner’s rights under a Booker analysis, if that case did apply to his

   case. United States v. Booker, 543 U.S. 220 (2005). Additionally, there has been no showing of any

   other Constitution violation.

            Accordingly, the Court ORDERS that the Petition be DENIED and DISMISSED WITH

   PREJUDICE based on the reasons set forth in the Magistrate Judge’s Report and Recommendation.

   It is further ORDERED that this action be and is hereby STRICKEN from the active docket of this

   Court.

            The Clerk is directed to transmit true copies of this Order to the Petitioner and all counsel

   of record herein.

            DATED this 20th day of June 2006.




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